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                                                                                                    E-FILED
                                                                    Thursday, 11 August, 2022 02:23:09 PM
                                                                              Clerk, U.S. District Court, ILCD
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

U.S. EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION,                         )
                                    )
                  Plaintiff,        )                        CIVIL ACTION NO.
                                    )                        2:22-cv-02161
            v.                      )
                                    )                        COMPLAINT
                                    )
LACEY’S PLACE LLC SERIES MIDLOTHIAN )                        JURY TRIAL DEMAND
d/b/a LACEY’S PLACE,                )
                                    )
                  Defendant.        )

________________________________________ )




                                  NATURE OF THE ACTION

       This is an action under the Equal Pay Act of 1963 (“EPA”) to restrain the unlawful

payment of wages to employees of one sex (female) at rates less than the rates paid to employees

of the opposite sex (male) and to collect back wages due to employees as a result of such

unlawful payments and under Title VII of the Civil Rights Act of 1964 and Title I of the Civil

Rights Act of 1991 to correct unlawful employment practices on the basis of sex and retaliation

and to provide appropriate relief to a class of female district managers. As alleged with greater

particularity below, Defendant Lacey’s Place LLC Series Midlothian d/b/a Lacey’s Place

(“Lacey’s Place”) violated the EPA and Title VII by paying female district managers lower

wages than male district managers for performing substantially equal work based on their sex. In

addition, Defendant Lacey’s Place violated Title VII and the EPA by discharging Brandy Brooks

in retaliation for complaining of the wage disparity.




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                                  JURISDICTION AND VENUE

           1.   Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Sections 16(c) and 17 of the

Fair Labor Standards Act of 1938 (the “FLSA”), as amended, 29 U.S.C. §§ 216(c) and 217, to

enforce the requirements of the Equal Pay Act of 1963, codified as Section 6(d) of the FLSA, 29

U.S.C. § 206(d), and pursuant to Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e-5(f)(1) and (3) (“Title VII”) and pursuant to Section 102

of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

           2.   The employment practices alleged to be unlawful were and are now being

committed within the jurisdiction of the United States District Court for the Central District of

Illinois.

                                             PARTIES

           3.   Plaintiff, the United States Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the administration,

interpretation and enforcement of the Equal Pay Act and Title VII and is expressly authorized to

bring this action by Sections 16(c) and 17 of the FLSA, 29 U.S.C. §§ 216(c) and 217, as

amended by Section 1 of Reorganization Plan No. 1 of 1978, 92 Stat. 3781, and by Public Law

98-532 (1984), 98 Stat. 2705, and by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-

5(f)(1).

           4.   At all relevant times, Defendant Lacey’s Place has continuously been an Illinois

corporation doing business in the State of Illinois and the City of Champaign.

           5.   At all relevant times, Defendant Lacey’s Place has continuously had at least 15

employees.




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          6.    At all relevant times, Defendant Lacey’s Place has continuously been an employer

engaged in an industry affecting commerce under Sections 701(b), (g) and (h) of Tile VII, 42

U.S.C. §§ 2000e(b), (g) and (h).

          7.    At all relevant times, Defendant Lacey’s Place has acted directly or indirectly as an

employer in relation to employees and has continuously been an employer within the meaning of

Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

          8.    At all relevant times, Defendant Lacey’s Place has continuously employed

employees engaged in commerce or in the production of goods for commerce within the meaning

of Sections 3(b), (i) and (j) of the FLSA, 29 U.S.C. §§ 203(b), (i) and (j) and has continuously

been an enterprise engaged in commerce or in the production of goods for commerce within the

meaning of Sections 3(r) and (s) of the FLSA, 29 U.S.C. §§ 203(r) and (s), in that said enterprise

has continuously been an enterprise whose annual gross volume of sales made or business done

is not less than $500,000.

                                ADMINISTRATIVE PROCEDURES

          9.     More than thirty days prior to the institution of this lawsuit, Brandy Brooks filed a

charge with the Commission alleging violations of Title VII and EPA by Defendant Lacey’s

Place.

          10.    On February 14, 2022, the Commission issued to Defendant Lacey’s Place a

Letter of Determination finding reasonable cause to believe that Title VII and EPA were violated

and inviting Defendant Lacey’s Place to join with the Commission in informal methods of

conciliation to endeavor to eliminate the unlawful employment practices and provide appropriate

relief.




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       11.     The Commission engaged in communications with Defendant Lacey’s Place to

provide it with the opportunity to remedy discriminatory practices described in the Letter of

Determination.

       12.     On June 3, 2022, the Commission issued to Defendant Lacey’s Place a Notice of

Failure of Conciliation advising Defendant that the Commission was unable to secure from

Defendant a conciliation agreement acceptable to the Commission.

       13.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                        STATEMENT OF EQUAL PAY ACT CLAIMS

       14.    Since at least March 8, 2018, Defendant Lacey’s Place has violated Sections

6(d)(1) and 15(a)(2) of the FLSA, 29 U.S.C. §§ 206(d)(1) and 215(a)(2), by paying lower wages

to female district managers, including Brandy Brooks, than it pays to male district managers for

equal work in a job requiring substantially equal skill, effort, and responsibility and performed

under similar working conditions.

               a. In or about August 2016, Defendant Lacey’s Place hired Brandy Brooks

(female) as a district manager.

                       i. Brooks had a starting salary of $48,000.

                      ii. Brooks was paid a salary of $60,000 from approximately January 2018

                          until at least October 2018.

                      iii. At some point between October 2018 and January 2019, Defendant

                          Lacey’s Place raised her salary to $68,000, which she earned until she

                          was terminated in June 2019.

               b. In or about February 2019, a female with the initials F.L. was hired as a

district manager.

                       i. F.L. had a starting salary of $62,000.


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                       ii. F.L. was paid a salary of $63,800 starting in January 2020.

                       iii. F.L. was then paid a salary of $70,000 starting in August 2020.

               c. In or about October 2018, Defendant Lacey’s Place hired a male with the

initials D.T. as a district manager.

                        i. D.T. had a starting salary of $76,500.

                       ii. D.T. was paid a salary of $80,325 starting in January 2020.

               d. In or about October 2018, Defendant Lacey’s Place hired a male with the

initials R.C. as a district manager.

                        i. R.C. had a starting salary of $76,500.

               e. In or about January 2019, a male with the initials G.W. was hired as a district

manager

                        i. G.W. had a starting salary of $68,000.

               f. In or about June 2019, Defendant Lacey’s Place hired a male with the initials

J.E. as a district manager.

                        i. J.E. had a starting salary of $75,000.

                       ii. J.E. was paid a salary of $76,125 starting in January 2020.

               g. Each district manager performed the same functions.

                        i. Defendant Lacey’s Place had one job description for the position of

                              district manager.

                       ii. All district managers operated under a common central authority.

               h. Female district managers, including Brandy Brooks and F.L., had similar or

more education and experience than male district managers who were paid more than the female

managers.




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       15.     As a result of the acts complained of above, Defendant Lacey’s Place unlawfully

has withheld and is continuing to withhold the payment of wages due to female district

managers, including Brandy Brooks and F.L.

       16.     The unlawful practices complained of above were and are willful.

       17.     On or around June 18, 2019, Defendant Lacey’s Place violated Section 15(a)(3) of

the FLSA, 29 U.S.C. § 215(a)(3), by discharging Brooks after she complained to Defendant

Lacey’s Place about the wage disparity between her and her male coworkers.

                             STATEMENT OF TITLE VII CLAIMS

       18.     Since at least August 31, 2018, Defendant Lacey’s Place has engaged in unlawful

employment practices, in violation of Section 703 and 704(a) of Title VII, 42 U.S.C. § 2000e-

2(a)(1), 2000e-3(a). These unlawful practices include, but are not limited to, the following:

                a. Defendant Lacey’s Place engaged in discrimination by paying lower wages to

female district managers, including Brandy Brooks, than it pays to male district managers on the

basis of sex. The Commission hereby incorporates by reference Paragraph 14(a)-(h).

                b. Defendant Lacey’s Place engaged in retaliation against Brooks after she

complained to Defendant Lacey’s Place about the wage disparity between her and her male

coworkers by discharging her on or around June 18, 2019.

       19.     The effect of the practices complained of above has been to deprive female district

managers, including Brooks, of equal employment opportunities and otherwise adversely affect

their status as an employee because of their sex.

       20.     The unlawful employment practices complained of in paragraph 18 above were

intentional.




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       21.    The unlawful employment practices complained of in paragraph 18 were and are

done with malice or with reckless indifference to the federally protected rights of female district

managers, including Brooks.

                                      PRAYER FOR RELIEF

       Wherefore, the Commission requests that this Court:

       A.      Grant a permanent injunction enjoining the Defendant Lacey’s Place, its officers,

agents, servants, employees, attorneys, and all persons in active concert or participation with

them, from paying female district managers lower wages than male district managers for

performing substantially equal work on jobs the performance of which requires equal skill,

effort, and responsibility, and which are performed under similar working conditions.

       B.      Order Defendant Lacey’s Place to institute and carry out policies, practices, and

programs, which provide equal employment opportunities for women and which eradicate the

effects of its past and present unlawful employment practices.

       22.    Order Defendant Lacey’s Place to make whole female district managers, including

Brooks, by providing appropriate backpay with prejudgment interest, in amounts to be

determined at trial, and other affirmative relief necessary to eradicate the effects of its unlawful

employment practices, including but not limited to reinstatement.

       23.    Order Defendant Lacey’s Place to pay the female district managers, including

Brooks, liquidated damages equal to the backpay plus interest set forth above.

       24.    Order Defendant Lacey’s Place to make whole female district managers, including

Brooks, by providing compensation for past and future pecuniary losses resulting from the

unlawful employment practices described above, in amounts to be determined at trial.




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        25.   Order Defendant Lacey’s Place to make whole female district managers, including

Brooks, by providing compensation for past and future nonpecuniary losses resulting from the

unlawful practices complained of above, in amounts to be determined at trial.

        26.   Order Defendant Lacey’s Place to pay punitive damages for its malicious and

reckless conduct as described above, in amounts to be determined at trial.

        C.     Grant such further relief as this Court deems necessary and proper in the public

interest.

        D.     Award the Commission its costs of this action.

                                    JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint that
do not relate solely to equitable relief.

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                                                     s/ Adrienne L. Kaufman


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